Case 2:14-cr-20027-PKH   Document 75   Filed 02/03/15   Page 1 of 6 PageID #: 258
Case 2:14-cr-20027-PKH   Document 75   Filed 02/03/15   Page 2 of 6 PageID #: 259
Case 2:14-cr-20027-PKH   Document 75   Filed 02/03/15   Page 3 of 6 PageID #: 260
Case 2:14-cr-20027-PKH   Document 75   Filed 02/03/15   Page 4 of 6 PageID #: 261
Case 2:14-cr-20027-PKH   Document 75   Filed 02/03/15   Page 5 of 6 PageID #: 262
Case 2:14-cr-20027-PKH   Document 75   Filed 02/03/15   Page 6 of 6 PageID #: 263
